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                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov
                                               CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                            Original Plan
                                                                  Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                        ■   2nd                                   Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Gil Pupo                                       JOINT DEBTOR: Maria Pupo                            CASE NO.: 19-18839
SS#: xxx-xx- 7168                                         SS#: xxx-xx-8069
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                 Included           ■   Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                 Included           ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                           ■    Included               Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $1,155.90            for months   1    to 21 ;

                   2.   $133.97              for months 22 to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                              NONE     PRO BONO
        Total Fees:               $6775.00          Total Paid:            $1140.00            Balance Due:          $5635.00
        Payable             $73.00           /month (Months 1     to 21 )
        Payable             $105.18          /month (Months 22 to 60 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3,650.00 Harbor Attorneys Fees and Costs (Bankruptcy)
        $2,600.00 Safe Harbor Attorneys Fees and Costs (MMM)
        $525.00 Motion to Modify
        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:                 NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
         1. Creditor: Carrington Mortgage Services, LLC
              Address: P.O. Box 3730                      Arrearage/ Payoff on Petition Date
                       Anaheim, CA 92806
                                                          MMM Adequate Protection                      $993.60      /month (Months      1   to 21 )

         Last 4 Digits of
         Account No.:                 1473
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        Other:              Client was approved for a loan modification and will make payments direct and outside starting in month 22.

         ■ Real Property                                                              Check one below for Real Property:
                 ■ Principal Residence                                                 ■ Escrow is included in the regular payments

                       Other Real Property                                                   The debtor(s) will pay   taxes      insurance directly
         Address of Collateral:
         16016 SW 66th Terrace
         Miami, Florida 33193
             Personal Property/Vehicle
         Description of Collateral:
            B. VALUATION OF COLLATERAL:                           ■   NONE
            C. LIEN AVOIDANCE                   ■    NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                       ■    NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                            NONE
                       ■    The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                            confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                            codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                          Name of Creditor                  Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                          US Department of Housing          0000                         Homestead property at 16016 SW 66th Terrace
                       1. and Urban Development                                          Miami, Florida 33193
                            Americredit Financial Service 7876                                   2017 Chevy Camaro
                       2.
                          Carrington Mortgage               1473                                 Homestead property at 16016 SW 66th Terrace
                       3. Services                                                               Miami, Florida 33193
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: ■ NONE
            B. INTERNAL REVENUE SERVICE:                          ■   NONE
            C. DOMESTIC SUPPORT OBLIGATION(S): ■ NONE
            D. OTHER:              ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay               $15.39          /month (Months 22      to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.           If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                      ■   NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■    NONE
VII.        INCOME TAX RETURNS AND REFUNDS:                              NONE




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                       ■   The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                           annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                           Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                           provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                           increases by more than 3% over the previous year’s income. [Miami cases]
VIII.       NON-STANDARD PLAN PROVISIONS                 NONE
              Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
              Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.


            ■     Mortgage Modification Mediation

                   1 The debtor has filed a Verified Motion for Referral to MMM with:
                   Carrington Mortgage Services, LLC                                                                                    ("Lender")
                   loan number 1473
                   for real property located at 16016 SW 66th Terrace, Miami, Florida 33193

                   The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local
                   Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
                   modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
                   petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
                   contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees
                   due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
                   such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
                   by the trustee and not upon receipt by the lender.

                   Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
                   proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
                   stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation
                   of the plan or modified plan.

                   If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
                   pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
                   with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than
                   14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately amend or
                   modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable.

                   If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
                   days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
                   the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
                   necessary to complete the settlement.

                   In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
                   disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

                   If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
                   filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
                   Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real
                   property will be “treated outside the plan.” If the property is “treated outside the plan,” the lender will be entitled to in rem stay
                   relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
                   confirm that the automatic stay is not in effect as to the real property.

                   Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
                   of Claim.




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                       PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                        Debtor                                                             Joint Debtor
  Gil Pupo                                                Date                  Maria Pupo                                        Date



  /s/                                        03/15/2021
    Attorney with permission to sign on                Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




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